     Case 2:18-cv-07237-AYS Document 5 Filed 02/07/19 Page 1 of 22 PageID #: 74



UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
 –––––––––––––––––––––––––––––––––––––––– x
SHELBY FRANKLIN, individually on          :
behalf of herself and all others similarly:
situated,                                 :                             Case No. 2:18-cv-07237-JFB-AYS
                                          :
            Plaintiff,                    :
v.                                        :
                                          :
                                          :                             CORRECTED CLASS ACTION
STEW LEONARD'S EAST MEADOW LLC,           :                                  COMPLAINT
STEW LEONARD'S FARMINGDALE LLC,           :
STEW LEONARD'S YONKERS LLC,               :                               JURY TRIAL DEMANDED
STEW LEONARD'S HOLDINGS, LLC              :
                                          :
            Defendants.                   :
––––––––––––––––––––––––––––––––––––––––– x

          Plaintiff, Shelby Franklin (hereinafter “Plaintiff”), individually and on behalf of all others

   similarly situated, by her attorneys, alleges the following upon information and belief, except for

   those allegations pertaining to Plaintiff, which are based on personal knowledge:

                                    NATURE OF THE ACTION

          1.      This action seeks to remedy the deceptive and misleading business practices of

   Stew Leonard's East Meadow LLC, Stew Leonard's Farmingdale LLC, Stew Leonard's Yonkers

   LLC, and Stew Leonard's Holdings, LLC (hereinafter “Defendants”) with respect to the labeling

   and sales of fish products labeled as “red snapper” and “sockeye salmon” (hereinafter the

   “Products”) throughout the State of New York.

          2.      A recent report by the Office of the New York Attorney General (“OAG”)

   demonstrates that a large percentage of Defendants’ fish Products are mislabeled and thus not


                                                    1
    Case 2:18-cv-07237-AYS Document 5 Filed 02/07/19 Page 2 of 22 PageID #: 75



what they are claimed to be. 1 Products labeled by Defendants as red snapper and sockeye salmon

in fact are substituted with cheaper, less environmentally sustainable, or less healthy fish. 2

        3.       The OAG Seafood Fraud and Mislabeling Report concluded as follows:

        Something fishy is going on at supermarket seafood counters. Consumers think
        they are buying lemon sole, red snapper, or wild salmon, or any one of dozens of
        seafood options. But too often, they get something else entirely. They
        unknowingly take home a cheaper, less environmentally sustainable, or less
        healthy fish. It’s a bait-and-switch, which cheats consumers
        and violates consumer protection laws. 3

        4.       Plaintiff and those similarly situated (“Class Members”) relied on Defendants’

labeling when purchasing the Products. Plaintiff and Class Members paid a premium for the

Products over and above other fish Products because they believed that they were red snapper,

and not a different snapper fish of an inferior grade and quality. Plaintiff and Class Members

paid a premium for the Products over and above other fish Products because they believed that

they were sockeye salmon, and not Coho salmon, a fish of inferior grade and quality. Given that

Plaintiff and Class Members paid a premium for the Products based on Defendants’

misrepresentations that they were red snapper and sockeye salmon, Plaintiff and Class Members

suffered an injury in the amount of the premium paid.

        5.       Defendants’ conduct violated and continues to violate, inter alia, New York

General Business Law §§ 349 and 350. Defendants have been and continue to be unjustly

enriched. Defendants also violated the implied warranty of fitness for a particular purpose.


1
  “Fishy Business: Seafood Fraud and Mislabeling in New York State Supermarkets” Report from the Office of the
New York State Attorney General, December 2018, annexed hereto as Exhibit A (“the “OAG Seafood Fraud and
Mislabeling Report”).
2
  Id. at p. 1; see also id. at p. B9.
3
  Id. at p. 1.
                                                       2
    Case 2:18-cv-07237-AYS Document 5 Filed 02/07/19 Page 3 of 22 PageID #: 76



Accordingly, Plaintiff brings this action against Defendants on behalf of herself and Class

Members who purchased the Products in New York during the applicable statute of limitations

period (the “Class Period”).

                                   FACTUAL BACKGROUND

          6.      In 2015, the average American ate approximately 15.5 pounds of fish and other

seafood. 4 Because such foods are high in protein, low in dietary fat, and rich in omega-three

fatty acids, the Food and Drug Administration (“FDA”) recommends that eating 8 to 12 ounces

each week. 5

          7.      As explained by the OAG Seafood Fraud and Mislabeling Report, some varieties

of fish are in greater demand by consumers and consumers will pay a premium price for certain

species of fish. 6 According to the Report, “Factors beyond flavor and texture play a role in

consumer choice, and consumers may favor certain species that they could not easily distinguish

by appearance or taste alone.” 7 Other seafood characteristics are also important to consumers,

including: market reputation (consumers will pay a premium “for seafood that is in high demand

and seen as a premium product”); nutritional and health differences (“[c]onsumers will select

particular seafood species over others because of differences they perceive in their safety,

nutrition, and wholesomeness”); and environmental sustainability concerns (“[e]co-conscious

consumers will select seafood species based on their environmental sustainability”). 8



4
  Id. at p. 2.
5
  Id.
6
  Id.
7
  Id.
8
  Id at p. 2-3.
                                                  3
     Case 2:18-cv-07237-AYS Document 5 Filed 02/07/19 Page 4 of 22 PageID #: 77



         8.        From late 2017 through 2018, the OAG undertook a major government

investigation in New York to look into seafood fraud at retail supermarket chains. The OAG

called the results “disturbing.” 9 The OAG purchased seafood at 155 locations across 29

supermarket brands, falling into nine categories. An academic laboratory then identified the

species using DNA testing approved by the FDA. 10 Five supermarket brands were responsible

for a large share of the mislabeling, one of which was Stew Leonard’s. 11

         9.        The OAG Seafood Fraud and Mislabeling Report described the mislabeling of

certain species in New York supermarkets as “rampant,” particularly red snapper. 12 Consumers

who purchased this variety of fish were more likely to receive an entirely different fish. 13 More

than one in four (26.92%) seafood purchases was mislabeled, and about two-thirds of the

supermarket brands reviewed had at least one instance of suspected mislabeling. 14 Mislabeling

in Long Island supermarkets was particularly high (40.63%).

         10.       The OAG Seafood Fraud and Mislabeling Report also found that consumers were

paying more for the mislabeled fish than they would have if they had known the truth, and were

receiving an inferior product. 15 Indeed, the mislabeled fish was substituted with fish that were

typically cheaper, less desirable species than the desired species. 16




9
  Id. at p. 1.
10
   Id.
11
   Id.
12
   Id. (emphasis in original).
13
   Id.
14
   Id.
15
   Id.
16
   Id.
                                                  4
     Case 2:18-cv-07237-AYS Document 5 Filed 02/07/19 Page 5 of 22 PageID #: 78



            11.   Indeed, the Report noted that “[t]he wide price disparities between different fish

species mean that substituting a cheaper or more obscure species for a more expensive or better

known one can allow the seller to sell at a higher price – or to price the fish lower than a

competitor selling the authentic product. In cases of mislabeling, the tendency of the substitute

fish to be a cheaper species suggests that intentional misconduct in the supply chain may play a

role.” 17

            12.   In addition, consumers who purchased mislabeled fish products were exposed to

the potential for greater chemical residue, a different nutritional profile, a less environmentally

friendly species of fish, a less healthy species of fish, and fish with higher mercury levels when

compared to the species of fish that they believed they were purchasing. 18

            13.   Defendants own and operate a chain of six supermarkets (three in New York and

three in Connecticut) which sell a wide variety of fish Products. 19

            14.   The OAG Seafood Fraud and Mislabeling Report found that Defendants’

mislabeling of their fish Products was particularly prevalent and egregious. In fact, 53.85% of

Defendants’ fish Product samples tested by the OAG were mislabeled. 20 This mislabeling rate

was high enough to trigger further investigation by the OAG into Defendants’ fish labeling

practices. 21




17
   Id. at p. 5.
18
   Id. at p. 1-3.
19
   http://www.stewleonards.com/
20
   Id. at p. 12.
21
   Id.
                                                   5
     Case 2:18-cv-07237-AYS Document 5 Filed 02/07/19 Page 6 of 22 PageID #: 79



           15.   In particular, Defendants sold snapper fish as the more desirable and expensive

red snapper and Coho salmon as the more desirable and expensive sockeye salmon. 22

           16.   In fact, Defendants’ President and CEO admitted that Defendants had been

importing snapper fish and labeling it as “red snapper” for the past two years. 23

           17.   The OAG Seafood Fraud and Mislabeling Report noted that snapper fish sold as

red snapper often sells for half as much when properly labeled as another type of snapper and

that some of these substitute snappers (e.g., lane snapper) had higher mercury levels or came

from less sustainable fisheries than red snapper, leading to consumer safety and environmental

sustainability issues. 24

           18.   In other words, Defendants routinely took advantage of consumers’ preferences

for certain fish species and characteristics by labeling and passing off low-demand, less healthy,

and less environmentally friendly fish as more desirable, healthier, and more sustainable varieties

of fish.

           19.   Whether Defendants’ labeling of the Products is deceptive is judged by whether it

would deceive or mislead a reasonable person.

           20.   Reasonable consumers expect fish labeled as red snapper or sockeye salmon to

actually be that species of fish, as opposed to a less desirable and less healthy species of fish.




22
   Id. at p. B9.
23
   https://www.newsday.com/business/fish-in-ny-supermarkets-often-mislabeled-ag-s-investigation-finds-
1.24575143
24
   OAG Seafood Fraud and Mislabeling Report, at p. 1. See also id. at 20-22.
                                                       6
     Case 2:18-cv-07237-AYS Document 5 Filed 02/07/19 Page 7 of 22 PageID #: 80



            21.   Defendants’ labeling of their fish Products is false, misleading, and deceptive

because the Products are labeled as red snapper and sockeye salmon when, in fact, they are low-

demand, less healthy, and less environmentally friendly species of fish.

            22.   Consumers rely on label representations and information in making purchasing

decisions.

            23.   Indeed, as the OAG Seafood Fraud and Mislabeling Report noted, “Most

consumers are not seafood experts. They interact with the global seafood chain exclusively at its

final step: their neighborhood seafood counter or restaurant. To a far greater degree than for

many other food products, consumers depend on the representations retailers make about the

seafood for sale.” 25

            24.   Defendants’ deceptive representations and omissions are material in that a

reasonable person would attach importance to such information and would be induced to act

upon such information in making purchase decisions.

            25.   Plaintiff and the Class Members reasonably relied to their detriment on

Defendants’ misleading representations and omissions.

            26.   Defendants’ false, misleading, and deceptive misrepresentations and omissions

are likely to continue to deceive and mislead reasonable consumers and the general public, as

they have already deceived and misled Plaintiff and the Class Members.




25
     Id. at 6.
                                                   7
  Case 2:18-cv-07237-AYS Document 5 Filed 02/07/19 Page 8 of 22 PageID #: 81



       27.      In making the false, misleading, and deceptive representations and omissions

described herein, Defendants knew and intended that consumers would pay a premium for

Products labeled as red snapper and sockeye salmon over other, less desirable, fish Products.

       28.      As an immediate, direct, and proximate result of Defendants’ false, misleading,

and deceptive representations and omissions, Defendants injured Plaintiff and the Class

Members in that they:

             a. Paid a sum of money for Products that were not what Defendants
                represented;

             b. Paid a premium price for Products that were not what Defendants
                represented;

             c. Were deprived of the benefit of the bargain because the Products they
                purchased were different from what Defendants impliedly warranted;

             d. Were deprived of the benefit of the bargain because the Products they
                purchased had less value than what Defendants represented; and

             e. Ingested a substance that was of a different quality than what Defendants
                promised.


       29.      Had Defendants not made the false, misleading, and deceptive representations and

omissions, Plaintiff and the Class Members would not have been willing to pay the same amount

for the Products they purchased, or would not have been willing to purchase the Products.

       30.      Plaintiff and the Class Members paid for Products that were red snapper and

sockeye salmon but received Products that were different, less desirable species of fish. The

Products Plaintiff and the Class Members received were worth less than the Products for which

they paid.

                                                8
  Case 2:18-cv-07237-AYS Document 5 Filed 02/07/19 Page 9 of 22 PageID #: 82



       31.     Based on Defendants’ misleading and deceptive representations, Defendants were

able to, and did, charge a premium price for the Products over the cost of the varieties of fish that

were accurately labeled.

       32.     Plaintiff and the Class Members all paid money for the Products. However,

Plaintiff and the Class Members did not obtain the full value of the labeled Products due to

Defendants’ misrepresentations and omissions. Plaintiff and the Class Members purchased,

purchased more of, and/or paid more for, the Products than they would have had they known the

truth about the Products. Consequently, Plaintiff and the Class Members have suffered injury in

fact and lost money as a result of Defendants’ wrongful conduct.

                                 JURISDICTION AND VENUE

       33.     This Court has subject matter jurisdiction under the Class Action Fairness Act, 28

U.S.C. section 1332(d) in that: (1) this is a class action involving more than 100 class members;

(2) Plaintiff is a citizen of the State of New York, Defendant Stew Leonard’s Holdings LLC is a

citizen of the State of Connecticut; Defendants Stew Leonard’s East Meadow, LLC, Stew

Leonard’s Farmingdale, LLC, and Stew Leonard’s Yonkers, LLC are citizens of the State of

New York; and (3) the amount in controversy is in excess of $5,000,000, exclusive of interests

and costs.

       34.     This Court has personal jurisdiction over Defendants because Defendants conduct

and transact business in the State of New York, contract to supply goods within the State of New

York, and supply goods within the State of New York.




                                                 9
 Case 2:18-cv-07237-AYS Document 5 Filed 02/07/19 Page 10 of 22 PageID #: 83



       35.     Venue is proper because Plaintiff and many Class Members reside in the Eastern

District of New York, and throughout the State of New York. A substantial part of the events or

omissions giving rise to the Plaintiff’s and Class Members’ claims occurred in this District.

                                             PARTIES

Plaintiff

      36.      Plaintiff is an individual consumer who, at all times material hereto, was a

resident of Nassau County, New York and a citizen of the State of New York. Over the past

several years, including multiple times in 2018, Plaintiff routinely purchased fish Products

labeled as red snapper and sockeye salmon from the Stew Leonard’s supermarkets in

Farmingdale and East Meadow, New York.

       33.     Plaintiff was willing to purchase and pay the amount that she did for the Products

because she believed that they were accurately labeled. Plaintiff would not have been willing to

purchase or pay as much as she did for the Products if she had known that they were actually a

different, lower quality and less desirable species of fish.

       34.     Plaintiff would purchase the Products again if the labeling were changed so that

the Product labels accurately reflected the species of fish being sold.

Defendants

       35.     Defendant Stew Leonard’s Holdings, LLC is a corporation with its principal place

of business in Norwalk, Connecticut. Stew Leonard’s was founded in 1969 and has grown into a

more than $400 million business with six store locations in two states (New York and




                                                  10
     Case 2:18-cv-07237-AYS Document 5 Filed 02/07/19 Page 11 of 22 PageID #: 84



Connecticut) and over 2,000 employees. In 2014, the Yonkers location alone produced over

$100 million in revenue. 26

           36.     Defendant Stew Leonard’s East Meadow, LLC is a corporation with its principal

place of business in East Meadow, New York.

           37.     Defendant Stew Leonard’s Farmingdale, LLC is a corporation with its principal

place of business in Farmingdale, New York.

           38.     Defendant Stew Leonard’s Yonkers, LLC is a corporation with its principal place

of business in Yonkers, New York.

           39.      Defendants created and/or authorized the false, misleading and deceptive labeling

for the Products.

                                          CLASS ALLEGATIONS

           40.     Plaintiff brings this matter on behalf of herself and those similarly situated. As

detailed at length in this Complaint, Defendants orchestrated deceptive labeling practices.

Defendants’ customers were routinely impacted by and exposed to this misconduct.

Accordingly, this Complaint is uniquely situated for class-wide resolution, including injunctive

relief.

           41.     Plaintiff seeks certification of a class of individuals who purchased the Products

in the State of New York at any time during the Class Period (the “Class”).




26
     http://www.vault.com/company-profiles/retail/stew-leonards-llc/company-overview.aspx
                                                        11
 Case 2:18-cv-07237-AYS Document 5 Filed 02/07/19 Page 12 of 22 PageID #: 85



       42.     The Class is properly brought and should be maintained as a class action under

Rule 23(a), satisfying the class action prerequisites of numerosity, commonality, typicality, and

adequacy because:

       43.     Numerosity: Class Members are so numerous that joinder of all members is

impracticable. Plaintiff believes that there are thousands of consumers who are Class Members

described above who have been damaged by Defendants’ deceptive and misleading practices.

       44.     Commonality: The questions of law and fact common to the Class Members

which predominate over any questions which may affect individual Class Members include, but

are not limited to:

               a. Whether Defendants are responsible for the conduct alleged herein which was

                      routinely directed at consumers who purchased the Products;

               b. Whether Defendants’ misconduct set forth in this Complaint demonstrates that

                      Defendants have engaged in deceptive business practices with respect to the

                      labeling of their Products;

               c. Whether Defendants made false and/or misleading statements and omissions

                      to the Class and the public concerning their Products;

               d. Whether Defendants’ false and misleading statements and omissions

                      concerning their Products were likely to deceive the public;

               e. Whether Plaintiff and the Class are entitled to injunctive relief; and

               f. Whether Plaintiff and the Class are entitled to money damages, and if so what

                      is the proper measure.

                                                    12
 Case 2:18-cv-07237-AYS Document 5 Filed 02/07/19 Page 13 of 22 PageID #: 86



       45.     Typicality: Plaintiff is a member of the Class. Plaintiff’s claims are typical of the

claims of each Class Member in that Plaintiff’s claims are based upon the same legal theories as

those of the members of the Class, and because Plaintiff’s grievances, like those of the members

of the Class, all arise out of the same deceptive business practices and course of conduct of

Defendants. Further, Plaintiff’s damages arise out of a pattern of nearly identical and repetitive

business practices conducted by Defendants.

       46.     Adequacy: Plaintiff is an adequate Class representative because her interests do

not conflict with the interests of the Class Members she seeks to represent; her claims are

common to all members of the Class and she has a strong interest in vindicating her rights; and

she has retained counsel competent and experienced in complex class action litigation and they

intend to vigorously prosecute this action. Plaintiff has no interests which conflict with those of

the Class. The Class Members’ interests will be fairly and adequately protected by Plaintiff and

her counsel. Defendants have acted in a manner generally applicable to the Class, making relief

appropriate with respect to Plaintiff and the Class Members. The prosecution of separate actions

by individual Class Members would create a risk of inconsistent and varying adjudications.

       47.     Predominance: Pursuant to Rule 23(b)(3), common issues of law and fact

identified above predominate over any other questions affecting only individual members of the

Class. The Class issues fully predominate over any individual issue because no inquiry into

individual conduct is necessary; all that is required is a narrow focus on Defendants’ deceptive

and misleading labeling practices.




                                                 13
 Case 2:18-cv-07237-AYS Document 5 Filed 02/07/19 Page 14 of 22 PageID #: 87



       48.      Superiority: A class action is superior to the other available methods for the fair

and efficient adjudication of this controversy because:

             a. The joinder of thousands of individual Class Members is impracticable,

                cumbersome, unduly burdensome, and a waste of judicial and/or litigation

                resources;

             b. The individual claims of the Class Members may be relatively modest compared

                with the expense of litigating the claim, thereby making it impracticable, unduly

                burdensome, and expensive—if not totally impossible—to justify individual

                actions;

             c. When Defendants’ liability has been adjudicated, all Class Members’ claims can

                be determined by the Court and administered efficiently in a manner far less

                burdensome and expensive than if it were attempted through filing, discovery, and

                trial of all individual cases;

             d. This class action will promote orderly, efficient, expeditious, and appropriate

                adjudication and administration of Class claims;

             e. Plaintiff knows of no difficulty to be encountered in the management of this

                action that would preclude its maintenance as a class action;

             f. This class action will assure uniformity of decisions among Class Members;

             g. The Class is readily definable and prosecution of this action as a class action will

                eliminate the possibility of repetitious litigation;




                                                   14
 Case 2:18-cv-07237-AYS Document 5 Filed 02/07/19 Page 15 of 22 PageID #: 88



             h. Class Members’ interests in individually controlling the prosecution of separate

                actions is outweighed by their interest in efficient resolution by single class

                action; and

             i. It would be desirable to concentrate in this single venue the litigation of all

                consumers who were induced by Defendants’ pervasive false advertising to

                purchase their Products.

       49.      Accordingly, this Class is properly brought and should be maintained as a class

action under Rule 23(b)(3) because questions of law or fact common to Class Members

predominate over any questions affecting only individual members, and because a class action is

superior to other available methods for fairly and efficiently adjudicating this controversy.

                                      INJUNCTIVE RELIEF

       50.      Relief under Rule 23(b)(2) is also appropriate because Defendants’ misleading

conduct has been directed at all consumers in New York, and the conduct continues presently.

Plaintiff seeks injunctive relief on behalf of the Class Members on grounds generally applicable

to the entire Class. Certification under Rule 23(b)(2) is appropriate because Defendants have

acted or refused to act in a manner that applies generally to the Class (i.e. Defendants have

marketed their Products using the same misleading and deceptive labeling to all of the Class

Members). Any final injunctive relief or declaratory relief would benefit the entire Class as

Defendants would be prevented from continuing their misleading and deceptive labeling

practices and would be required to honestly disclose to consumers the nature of the contents of




                                                  15
 Case 2:18-cv-07237-AYS Document 5 Filed 02/07/19 Page 16 of 22 PageID #: 89



their Products. Plaintiff would purchase the Products again if the labeling were changed so that

the Product labels accurately reflected the species of fish being sold.

                                 FIRST CAUSE OF ACTION
                            VIOLATION OF NEW YORK GBL § 349
                          (On Behalf of Plaintiff and All Class Members)

        51.     Plaintiff repeats and realleges each and every allegation contained in all the

foregoing paragraphs as if fully set forth herein.

        52.     New York General Business Law Section 349 (“GBL § 349”) declares unlawful

“[d]eceptive acts or practices in the conduct of any business, trade, or commerce or in the

furnishing of any service in this state . . .”

        53.     The conduct of Defendants alleged herein constitutes recurring, unlawful

deceptive acts and practices in violation of GBL § 349, and as such, Plaintiff and the Class

Members seek monetary damages and the entry of preliminary and permanent injunctive relief

against Defendants, enjoining them from inaccurately describing, labeling, marketing, and

promoting the Products.

        54.     Defendants misleadingly, inaccurately, and deceptively present their Products to

consumers.

        55.     Defendants’ improper consumer-oriented conduct—including labeling and

advertising the Products as being species of fish which they are not — is misleading in a material

way in that it, inter alia, induced Plaintiff and the Class Members to purchase and pay a

premium for Defendants’ Products when they otherwise would not have. Defendants made their




                                                 16
 Case 2:18-cv-07237-AYS Document 5 Filed 02/07/19 Page 17 of 22 PageID #: 90



untrue and/or misleading statements and omissions willfully, wantonly, and with reckless

disregard for the truth.

        56.     Plaintiff and the Class Members have been injured inasmuch as they paid a

premium for Products that were—contrary to Defendants’ representations— of an inferior grade,

quality, or type. Accordingly, Plaintiff and the Class Members received less than what they

bargained and/or paid for.

        57.     Defendants’ Products’ labeling induced the Plaintiff and Class Members to buy

Defendants’ Products and to pay a premium price for them.

        58.     Defendants’ deceptive and misleading practices constitute a deceptive act and

practice in the conduct of business in violation of New York General Business Law §349(a) and

Plaintiff and the Class Members have been damaged thereby.

        58.     As a result of Defendants’ recurring, unlawful deceptive acts and practices,

Plaintiff and the Class Members are entitled to monetary, compensatory, treble and punitive

damages, injunctive relief, restitution and disgorgement of all moneys obtained by means of

Defendants’ unlawful conduct, interest, and attorneys’ fees and costs.

                                 SECOND CAUSE OF ACTION
                             VIOLATION OF NEW YORK GBL § 350
                           (On Behalf of Plaintiff and All Class Members)

        59.     Plaintiff repeats and realleges each and every allegation contained in all the

foregoing paragraphs as if fully set forth herein.

        60.     N.Y. Gen. Bus. Law § 350 provides, in part, as follows:

                False advertising in the conduct of any business, trade or commerce or in the
                furnishing of any service in this state is hereby declared unlawful.
                                                 17
 Case 2:18-cv-07237-AYS Document 5 Filed 02/07/19 Page 18 of 22 PageID #: 91




       61.     N.Y. Gen. Bus. Law § 350-a(1) provides, in part, as follows:

               The term “false advertising” means advertising including labeling, of a
               commodity, or of the kind, character, terms or conditions of any employment
               opportunity if such advertising is misleading in a material respect. In determining
               whether any advertising is misleading, there shall be taken into account (among
               other things) not only representations made by statement, word, design, device,
               sound or any combination thereof, but also the extent to which the advertising
               fails to reveal facts material in the light of such representations with respect to the
               commodity or employment to which the advertising relates under the conditions
               proscribed in said advertisement, or under such conditions as are customary or
               usual . . .

       62.     Defendants’ labeling contains untrue and materially misleading statements and

omissions concerning Defendants’ Products inasmuch as they misrepresent that the Products are

of a certain grade, quality, or type when they are of an inferior grade, quality, or type.

       63.     Plaintiff and the Class Members have been injured inasmuch as they relied upon

the labeling, packaging and advertising and paid a premium for the Products which were—

contrary to Defendants’ representations— of an inferior grade, quality, or type.

       64.      Accordingly, Plaintiff and the Class Members received less than what they

bargained and/or paid for.

       65.     Defendants’ advertising, packaging and Products’ labeling induced Plaintiff and

the Class Members to buy Defendants’ Products.

       65.     Defendants made their untrue and/or misleading statements and omissions

willfully, wantonly, and with reckless disregard for the truth.

       66.     Defendants’ conduct constitutes multiple, separate violations of N.Y. Gen. Bus.

Law § 350.

                                                 18
 Case 2:18-cv-07237-AYS Document 5 Filed 02/07/19 Page 19 of 22 PageID #: 92



       67.      Defendants made the material misrepresentations and omissions described in this

Complaint on the Products’ labeling.

       68.      Defendants’ material misrepresentations and omissions were substantially

uniform in content, presentation, and impact upon consumers at large. Moreover, all consumers

purchasing the Products were and continue to be exposed to Defendants’ material

misrepresentations and omissions.

       69.      As a result of Defendants’ recurring, unlawful deceptive acts and practices,

Plaintiff and Class Members are entitled to monetary, compensatory, treble and punitive

damages, injunctive relief, restitution and disgorgement of all moneys obtained by means of

Defendants’ unlawful conduct, interest, and attorneys’ fees and costs.

                               THIRD CAUSE OF ACTION
                                 UNJUST ENRICHMENT
                        (On Behalf of Plaintiff and All Class Members)

       70.      Plaintiff repeats and realleges each and every allegation contained in the

foregoing paragraphs as if fully set forth herein.

       71.      Defendants, through misleading representations and omissions, enticed Plaintiff

and Class Members to purchase the Products.

       72.      Plaintiff and the Class Members conferred a benefit on Defendants by purchasing

the Products.

       73.      By its wrongful acts, Defendants have been unjustly enriched at the expense of,

and to the detriment of, Plaintiff and members of the Class.




                                                 19
 Case 2:18-cv-07237-AYS Document 5 Filed 02/07/19 Page 20 of 22 PageID #: 93



       74.     Defendants benefitted financially from the revenues and other compensation tied

to the sale of the Products, which was unjust in light of Defendants’ wrongful conduct as

described in this Complaint.

       75.     Under the circumstances, it would be against equity and good conscience to

permit Defendants to retain the ill-gotten benefits they received from Plaintiff and the Class as

the result of their deceptive marketing and advertising practices.

       76.     Because Defendants’ retention of the non-gratuitous benefit conferred on them by

Plaintiff and the Class Members is unjust and inequitable, Plaintiff seeks restitution from, and an

order from the Court disgorging all profits, benefits and other compensation obtained by,

Defendants due to their wrongful conduct.



                      FOURTH CAUSE OF ACTION
 BREACH OF IMPLIED WARRANTY OF FITNESS FOR A PARTICULAR PURPOSE
                (On Behalf of Plaintiff and All Class Members)

       77.     Plaintiff repeats and realleges each and every allegation contained in the

foregoing paragraphs as if fully set forth herein.

       78.     Defendants knew or had reason to know that Plaintiff and the other Class

Members were buying their Products with the specific purpose of buying red snapper and

sockeye salmon.

       79.     Plaintiff and the other Class Members relied on the Defendants in selecting their

Products to fit their specific intended use.

       80.     Defendants held themselves out as having particular knowledge of the Products.

                                                 20
 Case 2:18-cv-07237-AYS Document 5 Filed 02/07/19 Page 21 of 22 PageID #: 94



       81.     Plaintiff’s and Class Members’ reliance on Defendants in selecting Defendants’

Products to fit their particular purpose was reasonable given Defendants’ claims and

representations in its labeling concerning the species of the fish in the Products.

       82.      Plaintiff and the other Class Members’ reliance on Defendants in selecting

Defendants’ Products to fit their particular use was reasonable given Defendants’ particular

knowledge of the Products it sells.

       83.      As a result of the foregoing, Plaintiff and Class Members have been damaged in

the amount paid for the Defendants’ Products, together with interest thereon from the date of

purchase.



                                         JURY DEMAND

       Plaintiff demands a trial by jury on all issues so triable.

WHEREFORE, Plaintiff, on behalf of herself and the Class, prays for judgment as follows:

   (a) Declaring this action to be a proper class action and certifying Plaintiff as the

       representative of the Class under Rule 23 of the FRCP;

   (b) Entering preliminary and permanent injunctive relief against Defendants, directing

       Defendants to correct their practices and to comply with applicable consumer protection

       statutes and all other applicable laws and statutes;

   (c) Awarding monetary damages, including treble damages;

   (d) Awarding punitive damages;




                                                 21
 Case 2:18-cv-07237-AYS Document 5 Filed 02/07/19 Page 22 of 22 PageID #: 95



   (e) Awarding Plaintiff and Class Members their costs and expenses incurred in this action,

      including reasonable allowance of fees for Plaintiff’s attorneys and experts, and

      reimbursement of Plaintiff’s expenses; and

   (f) Granting such other and further relief as the Court may deem just and proper.

Dated: February 7, 2019
                                                         THE SULTZER LAW GROUP P.C.

                                                                       By: __ /s/ Jason P. Sultzer
                                                                           Jason P. Sultzer, Esq.
                                                                85 Civic Center Plaza, Suite 200
                                                                       Poughkeepsie, NY 12601
                                                                            Tel: (845) 483-7100
                                                                            Fax: (888) 749-7747
                                                               sultzerj@thesultzerlawgroup.com


                                                         THE SULTZER LAW GROUP P.C.
                                                                        Janine Pollack, Esq.
                                                                        Jeremy Francis, Esq.
                                                               351 West 54th Street, Suite 1C
                                                                 New York, New York 10019
                                                                         Tel: (212) 969-7810
                                                                        Fax: (888) 749-7747
                                                            pollackj@thesultzerlawgroup.com
                                                            francisj@thesultzerlawgroup.com


                                                                  LEEDS BROWN LAW P.C.

                                                                 By: _/s/_ Jeffrey Brown __
                                                                           Jeffrey Brown, Esq.
                                                              One Old Country Road, Suite 347
                                                                        Carle Place, NY 11514
                                                                           Tel: (516) 873-9550
                                                                  jbrown@leedsbrownlaw.com

                                                           Counsel for Plaintiff and the Class

                                              22
